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In the United States District Court
District of Columbia


UNITED STATES OF AMERICA,

          -v-
                                            Docket No.: 21-CR-00175 (TJK)
ETHAN NORDEAN, et.al.,

                Defendants.




          SENTENCING MEMORANDUM FOR DEFENDANT
                     DOMINIC PEZZOLA



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                          I.      PRELIMINARY STATEMENT

       The most important task in determining one’s prison sentence, and what is

just, necessary, not greater than sufficient: is to determine someone’s true heart, and

what that person has stood for, and who he truly is, not only to himself but to others.

       A person’s true heart is where that person truly resides and where we discover

what Justice represents in this case. During sentencing, judges perform a

quintessential task constantly and effectively utilizing their own humanity and

experience, and that of the person standing before them – ready to be sentenced to

potentially years in prison. Depending on that person’s age, family circumstances,

where there are in life on that day – a few years came make all the difference.

       Three years, for example, can make the difference if that person and others

truly caring for him are able to do their prison time, and make the most of it, as to

the other way around, where “the time does you”.1

       This quintessential task is paramount to full Justice in our legal system.

Regardless, of whether such factors are denominated as History, Background, and

Characteristics, or any other 18 U.S.C. §3553(a) factor, or if derived from federal

sentencing case law, or whether it is regarded as revealed intention or motive: a

person’s true heart is not going to be found in any law book.


1
  Dom Pezzola has spent almost 3 years in jail awaiting this sentencing, and it’s the three years
that we seek to depart from that will make all the difference in this man’s life, and the lives of
those who care and depend on him.
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       It doesn’t matter where you come from in the world. It doesn’t matter what

cards one was dealt at birth, or how that individual chooses to play his cards.

       Dominic Pezzola will be standing before this Court, on September 1, 2023,

after, (1) living over 40 years of his life without any criminal convcitions, (2) having

a wife and two daughter which he truly cares for, and each of whom depend on him

for financial and emotional support, (3) having honorably served this country in the

military for six years, and (4) having taken responsibility for his actions while on

the stand before this Court.2

       Mr. Pezzola’s world is different from all the others who undoubtedly will be

present in the courtroom that day. Pezzola was a businessman, one who learned a

niche trade from working for years with his father, that of commercial flooring, and

obtaining such contacts.

       If the proposed guidelines on Pezzola are deviated from, slightly, and he is

ultimately sentenced in the 60-month range, as such is just, necessary, not greater

than sufficient – then we are back to what I stated above: 3 years will make all the

2
 With regards to putting the government to its proofs – it must be highlighted that the government
would only agree to a plea to the top count of seditious conspiracy. Mr. Pezzola knew he was not
guilty of such charge and would not agree to a crime that he did not commit. Additionally, the
collateral consequences of a conviction to the top charge would have been even more financial
devesting to Pezzola’s family (in that, upon information and belief, his daughters would certainly
not be able to use his GI Bill for any portion of their college – regardless of such GI Bill being on
a freeze during the pendency of this case). Nonetheless, after nineteen weeks of trial, and two
weeks of jury deliberations – the jury found Pezzola not guilty of the top count of seditious
conspiracy, the only count Pezzola could have plead to prior to trial. Therefore, it is respectfully
submitted that Pezzola still get credit for his acceptance of responsibility.

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difference in this families life, and allow for Pezzola to make the most of prison time

to benefit his family, in particular his mother and children.

       A deviation from the mandatory minimum of proposed PSR guidelines of

three years will certainly benefit others. We hereby, respectfully request this

honorable Court consider Mr. Pezzola be sentenced in the 60 month range, and that

such be applied as a downward departure from the proposed PSR guidelines3

because such time, will make all the difference in the world for others, when they

will need it the most.

                             II.    FACTUAL BACKGROUND

       In sum, Defendant Pezzola physically, financially and emotionally has not

only cared for his two biological children, but also cares for his wife and her work,

which supports their family.

       At trial, Mr. Pezzola immediately accepted responsibility for his actions while

testifying.




3
  Such sentence would allow Mr. Pezzola to rehabilitate himself in the federal prison system, and
to come out at an age where he still can be a contributory member of society again, and provide
for all those who currently depend on him. We ask your Honor to consider our requests, first,
because Mr. Pezzola accepted responsibility for his actions; Second, because Mr. Pezzola – from
what I have learned – does have a good heart, a strong mind, and a young family that depend on
him for everything. Third, because at the time of his release, his children will be in their late
twenties at such time will be need for their father figure. And lastly, because Mr. Pezzola is
without question worthy of a second chance, a chance to restart his life before he is too old to be
given such an opportunity.

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Specifically, he testified as follows:

      Q.     Why did you take the stand today?

      A.     So I'm taking the stand today to take responsibility
             for my actions on January 6, and I'm also taking the
             stand to explain how these men over here that I'm
             indicted with should not be roped into my actions,
             and to also explain how there was no conspiracy.
             One never existed, and the craziest damn thing is I
             never even knew these guys until I met them here at
             the courthouse.

      MR. KENERSON: Objection to whether anyone else
          joined the conspiracy.

      THE COURT: That's sustained.

      BY MR. METCALF:

      Q.     So then you said you want to take responsibility.
             What did you do on January 6?

      A.     So, I got caught up in all the craziness. I trespassed
             at the first breach. I trespassed at the second breach.
             I think there may have been a third one. I'm not quite
             sure. But I basically trespassed all the breaches.

             During the scuffle with the whole shield incident, I
             did grab onto the police officer's shield, and I pulled
             on it out of fear for my own life, because deadly
             force was being used against us by the police. And
             then I made my way up to the scaffolding, not really
             thinking straight.

      Q.     Real quick, Dom. When you grabbed at the shield,
             did you take possession of it at that time?

      A.     No, I didn't. I grabbed onto it, and I pulled onto it.
             Everything happened in a split second. One minute,
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                    I was there, and I was seeing the blood on the
                    ground and everything, and I went up, and I was
                    trying to explain to the cops it's not legal to shoot
                    people in the face. And then the bullets started
                    coming in at me, inches from my face. So yeah, I
                    grabbed onto it and I pulled on it just out of a
                    reaction. But I fell backwards and actually fell back
                    on my back, and I let go of it. And someone else
                    actually grabbed it from the police officer, and I
                    grabbed it from them. We're going to have proof to
                    show this.

             Q.     After that, did you yell and scream at the police?

             A.     I did. I was angry. I was not thinking clearly. I was
                    upset. I had seen a lot of -- I had seen mothers
                    grabbing their children and getting them out of the
                    way to avoid flash bangs going off. I had seen
                    elderly protestors, their heads split open, faces full
                    of pepper spray. And I was upset. So yeah, I did
                    scream some profanities at the police.

             Q.     Did you then use that shield to break or damage any
                    property of the building?

             A.     I did. When I made my way up to the base of the
                    west side terrace, I believe it is, I did break one pane
                    of glass, one.

(See Tr. at p. 18868, ¶ 2 – 69, ¶ 25).

      In addition, to Pezzola’s taking responsibility for his action on J6, we ask this

Court to also consider the impact Pezzola’s actions have had on those closest to him.

First, Mr. Pezzola’s wife, who had to painfully take the stand in this matter, has

wrote to your Honor about her deepest pains since J6. She began in stating that the

“past two and a half years of my life have been, to say the least something one would
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never envision their life to become.” (See Lisa Magee Letter attached as Exhibit D).

She explained that “[s]ince that day I have received heinous material sent to my

home in the mail, to which I had to tell my daughters they were no longer allowed

to get the mail. I have been hospitalized because of the stress . . .”. (See Lisa Magee

Letter attached as Exhibit D).

      Lisa continued to explain how “Dominic was the wage earner in our home.

Our children and I relied on him for our daily needs. I worked as a social worker, at

a non-profit, making barely minimum wage, not nearly enough to support a family”

let alone in the state of New York. (See Lisa Magee Letter attached as Exhibit D).

      Dom’s youngest daughter, Angelina, wrote that “since I was little, my father

has always been a source of comfort, compassion, and a pillar that has kept the

darkness of the world from reaching me. My father has spent his life working himself

like a dog, destroying his body just to give me and my sister a better chance at life,

and it’s worked as I’m now attending college and have never had to deal with

financial struggle, food scarcity, or homelessness in my life. (See Angelica Pezzola

Letter attached as Exhibit A).

      On January 6, 2021, Lisa “was in graduate school and had left my non-profit

position. Since graduating I have been unable to secure employment, I can only

imagine why, when my name is googled, Dominic appears, that is my new reality.”

(See Lisa Magee Letter attached as Exhibit D).

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      In speaking about what has been lost since such time, Lisa explains that she

“lost my partner of 22 years, my confidant, my best friend. Trying to figure out how

to navigate life as a single parent and sole provider for two college students has been

an extreme struggle. I have had to watch my children struggle through the past few

years, scared, depressed, bullied, and ashamed to name a few. I had to watch my

child go to school in fear each day of her senior year as she was a minority in her

school and the news had perpetuated that her father was part of a white supremacy

group which we know is untrue.” (See Lisa Magee Letter attached as Exhibit D).

      Dom’s daughter spoke about her lost in these words:

             [s]ince my father has been incarcerated, my life has been
             uprooted and twisted in such a way that I couldn’t even
             imagine when he was still a free man. Every new person I
             meet I fear will recognize my last name and treat me with
             disdain, everytime I see my father in the news or on social
             media I feel despair deep in my soul as I see anonymous
             faces scowl and curse my family for existing. Everytime I
             look in the mirror and see what resemblance I have to my
             father I can’t help but feel shame well up inside me.
             Everytime I enjoy life with my friends and family I can’t
             help but think “is my dad okay? Is he enjoying his day
             today? Is he in pain?” And it hurts to not be able to ask
             him these questions every day like I used to.

(See Angelica Pezzola Letter attached as Exhibit A).




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                               III.    LAW AND ARGUMENT


       It is well settled that a sentencing court must follow the three-step process the

Gall Court set forth. Gall v. United States, 552 U.S. 38 (2007) (highlighting the court

should begin all sentencing proceedings by correctly calculating the applicable

guideline range, and that “to secure nationwide consistency, the Guidelines should

be the starting point and the initial benchmark”).

       First, the court must properly determine the guideline range. Second, the court

must determine whether to apply any of the guidelines’ departure policy statements

to adjust the guideline range.4 Third, the court must consider all the factors set forth

in 18 U.S.C. § 3553(a) as a whole, including whether a variance 5 is warranted and

appropriate. United States v. Stone, 432 8 F.3d 651, 655 (6th Cir. 2005); United

States v. Talley, 431 F.3d 784, 786 (11th Cir. 2005).




4
  See 18 U.S.C. § 3553(a)(5); See also United States v. McBride, 434 F.3d 470 (6th Cir. 2006)
(guideline 7 departures are still a relevant consideration for determining the appropriate guideline
sentence); United States v. Jordi, 418 F.3d 1212 (11th Cir. 2005) (highlighting that “the application
of the guidelines is not complete until the departures, if any, that are warranted are appropriately
considered”); see also United States v. Lofink, 564 F.3d 232 (3d Cir. 2009) (holding that district
court’s failure to rule on the defendant’s departure arguments constitutes procedural error).
5
 Hereafter in stating a “variance”, such shall be construed to mean “a sentence outside the advisory
guideline system”.

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     I.      APPLICATION FOR A 18 U.S.C. § 3553(A) DOWNWARD DEPARTURE,
             VARIANCE, OR A NON-GUIDELINES SENTENCE BECAUSE MR. PEZZOLA’S
             EXTRAORDINARY FAMILY CIRCUMSTANCES.


          This is the first time we are able to stand before this Court, and respectfully

request that taken into consideration is Mr. Pezzola’s extraordinary family

circumstances.

          It is respectfully submitted that Mr. Pezzola be sentenced to a term of 60

months imprisonment lower than the lower end of the guideline in the PSR.

    A. THE HISTORY AND CHARACTERISTICS OF THE DEFENDANT AND THE NATURE
       OF THE OFFENSE (§ 3553(A)(1)).

          Sentencing Guidelines are no longer mandatory and are not even presumed to

be reasonable; instead, it is respectfully submitted that the guidelines should be

considered as just one of many factors to be weighed when selecting a disposition

that is sufficient but not greater than necessary to satisfy the purposes and goals set

forth in § 3553(a).6 Gall v. United States, 552 U.S. 38, 49-50 (2007); United States

v. Fernandez, 443 F.3d 19 (2d Cir. 2006). As delineated in case law, a court must



6
  United States v. Mohammed, 459 F.3d 979 (9th Cir. 2006) (highlighting in light of Booker, Courts
should “treat such so-called departures as an exercise of post-Booker discretion to sentence a
defendant outside of the applicable guidelines range” and subject it to a “unitary review for
reasonableness, no matter how the district court styles its sentencing decision”); see also United
States v. Brown, 578 F.3d 221 (3d Cir. 2006) (vacating and remanding where district court failed
to distinguish whether above guideline sentence was product of a departure or a variance); United
States v. Miller, 479 F.3d 984 (8th Cir. 2007) (conflating departure considerations and the variance
analysis can be harmless error where the ultimate sentence is not unreasonable).

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conduct its own evaluation of the § 3553(a) factors and may “reject [after due

consideration] the advice of the Guidelines.” Kimbrough v. United States, 552 U.S.

85, 101 (2007).

         Downward departure may be warranted “[i]f reliable information indicates

that the defendant’s criminal history category substantially over-represents the

seriousness of the defendant’s criminal history or the likelihood that the defendant

will commit other crimes, a downward departure may be warranted.” U.S.S.G. §

4A1.3(b)(1). While the “policy statements” highlight that the “in the case of a

downward departure, the specific reasons why the applicable criminal history

category substantially over-represents the seriousness of the defendant’s criminal

history or the likelihood that the defendant will commit other crimes”;7 nonetheless,

the Second Circuit has held that “we have made it clear on other occasions that, as

long as the reasons for such a departure are fully explained, ‘a mechanistic, step-by-

step procedure is not required.’ ” See United States v. Simmons, 343 F.3d 72 (2d Cir.

2003)(quoting United States v. Kassar, 47 F.3d 562, 566 (2d Cir.1995), abrogated

on other grounds by Spencer v. Kemna, 523 U.S. 1, 118 S.Ct. 978, 140 L.Ed.2d 43

(1998); see also United States v. Franklyn, 157 F.3d 90, 100 (2d Cir.1998)).




7
    See §4A1.3(c)(2).

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      Here, this submission proceeds with two respectful requests under 18 U.S.C.

§ 3553(a), whereby Defendant Pezzola is asking this court to (1) grant a downward

departure in the guidelines range to a sentence of five years, which is lower than the

minimum range of the guidelines set forth in the PSR, or to (2) grant a variance

sentencing him outside of the applicable guideline range.

      There are various separate, discrete, distinct, and compelling reason to deviate

or depart from the calculated advisory guidelines in sentencing Pezzola in this case,

such as the following: (1) he is financially responsible for two 2 biological children,

his wife, and the family home; (2) Since being incarcerated the Defendant’s has not

violated any rules or crimes, and has been an ideal pre-trial individual; (3) his ability

to take the witness stand and take responsibility for his own actions; (4) the good in

the Pezzola’s life must be weighed with and can mitigate the bad, and (5) mercy

warrants a below guideline sentence.

                     i.     Mr. Pezzola’s Family, and Family’s Reliance Upon
                            Him for Their Economic Well-Being.

      Mr. Pezzola is a huge part of his children’s lives, and not only does he care

for his children, but also the wellbeing of his wife as well. When Lisa took the stand,

she told the story of a young twenty-year-old boy – becoming a young man – who

fought hard to get custody of his oldest girl. Pezzola ultimately was successful, and

since such time, he and Lisa have raise this girl, and cared for her every needs, where



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she now is in college, and has been cared for by her father since her birth, a father

who would never give up fighting for her.

       It is well settled that Courts have found it appropriate under certain

circumstances to a downward departure from the guidelines, pursuant to U.S.S.G. §

5H1.6. One such instance is when the Defendant was the sole or primary providers

for their families. United States v. Johnson, 964 F.2d 124 (2d Cir. 1992); United

States v. Mateo, 299 F. Supp 2d 201 (EDNY 2004).

      The Feldman Court, in an unpublished decision, found extraordinary family

circumstances existed when Defendant was the sole proprietor of his business, which

the court noted might not survive his absence if he was incarcerated, and the fact of

his sole-provider position in the family, combined with the needs of his two sons,

one of whom suffered from attention deficit disorder and was under psychiatric care.

U.S. v. Feldman, 1994 WL 525958 (S.D.N.Y. 1994).

      In Rose, the Court made a downward departure from the applicable Guideline

based on extraordinary family circumstances for a 27-year-old defendant, who had

assumed the role of a surrogate father to four young second cousins being raised by

his maternal grandmother, where his incarceration would have had grave and

irreversible consequences for the extended family of which he was a part, although

the children were neither his biological nor his legal offspring. U.S. v. Rose, 885 F.

Supp. 62 (E.D.N.Y. 1995); Compare to U.S. v. Canoy,38 F.3d 893 (7th Cir. 1994)

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(vacating a defendant's sentence after the district court refused a downward

departure based on extraordinary family circumstances, where the district court

reasoned it lacked the authority to grant such a departure despite its finding that the

defendant was “a good father, that he ha[d] three exemplary children, and that his

family would suffer ‘substantially’ and perhaps ‘irreparably’ were he incarcerated

for a full 27 months.”).

      In Alba, the government challenged a defendant’s sentence of 6 months in a

halfway house, followed by 2 years of supervised release. U.S. v. Alba, 933 F.2d

1117 (2d Cir. 1991). The Alba Court departure from the Guidelines range of 41-51

months of incarceration was based in part on the defendant's family's reliance upon

him for their economic well-being, where the appellate court held that the sentencing

judge’s determination to depart pursuant to § 5H1.6 of the Guidelines, was not an

abuse of discretion. Id. (remanding for other grounds regarding downward

departure). The appellate reasoning was the record amply supported the judge's

conclusion that the defendant's family circumstances were extraordinary, noting that

the defendant, his wife and their two daughters lived with his disabled father and his

paternal grandmother, and that he had long-standing employment, working two jobs

to maintain his family's economic well-being. Id. The appellate court highlighted

without a departure, the Guidelines would result in the destruction of an otherwise




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strong family unit, and his conclusion that these circumstances were sufficiently

extraordinary to support a downward departure under § 5H1.6. Id.

      Similarly, in Galante, the appellate court upheld the downward departure of

the sentencing court on extraordinary family circumstances. U.S. v. Galante, 111

F.3d 1029 (2d Cir. 1997), reh'g in banc denied, 128 F.3d 788 (2d Cir. 1997). In

Galante, Defendant’s wife spoke “little English” and thus had a limited earning

capacity, the defendant was the primary source of financial support for the family.

The trial court found that if the defendant were imprisoned, the family unit would

be destroyed and relegated to public assistance, and the extent of the departure was

from an adjusted offense level of 23 to an offense level of 10. Id.

      In this matter Mr. Pezzola is a family man, who provides financial, emotional,

psychological support to his two children, and his best friend – his wife Lisa.

      Pezzola has a family that is in dire need of his support not just financially, but

also mentally and emotionally. (See Family and Close Friend Letters attached as

Exhibits A-E).




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                    ii.    An Individualized Assessment of Mr. Pezzola’s
                           Personal Characteristics Warrants a Mitigated
                           Sentence.

      In determining the particular sentence to be imposed, 18 U.S.C. § 3553(a)(1)

directs the Court to consider the “history and characteristics of the defendant.” This

ensures “that the punishment will suit not merely the offense but the individual

defendant.” Pepper v. United States, 562 U.S. 476, 488 (2011) (citation omitted).

Just as it is necessary for the Court to understand “what set a defendant upon [an]

illegal course”. Id. at 332. Moreover, its “a court’s duty is always to sentence the

defendant as [s]he stands before the court on the day of sentencing.” Pepper v.

United States, 562 U.S. 476, 492 (2011) (citing United States v. Bryson, 229 F.3d

425, 426 (2d Cir. 2000) (per curiam)).

      Section 3553(a) requires a sentencing court to consider additional factors

when determining its sentence. These additional factors include the nature and

circumstances of the offense, the history and characteristics of the defendant, the

kinds of sentences available, the range established by the Sentencing Guidelines, any

pertinent policy statement from the Sentencing Commission, the need to avoid

unwarranted sentencing disparities and the need to provide restitution to any victims.

Consideration of these additional factors supports a non-Guidelines sentence of term

of seven years imprisonment.




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      However, we respectfully request that this Honorable Court take this into

serious consideration.

      In Booker, the Supreme Court held that mandatory application of the

Sentencing Guidelines violated a defendant’s Sixth Amendment rights. United

States v. Booker, 543 U.S. 220 (2005); See Kimbrough v. United States, 552 U.S.

85, 100-01 (2007); United States v. Cavera, 550 F.3d 180, 187 (2d Cir. 2008).

Essentially, the rigid framework of the Guidelines was replaced with a process that

makes the Guidelines merely advisory, and that requires judges to consider the

factors specified in 18 U.S.C. § 3553(a) to determine a sentence that is “sufficient,

but not greater than necessary” to accomplish the goals of sentencing. Kimbrough,

552 U.S. at 101.

      The post Booker goals include the need for the sentence imposed to:

          (1)      reflect the seriousness of the offense, promote respect
                   for the law, and provide just punishment for the
                   offense;

          (2)      afford adequate deterrence to criminal conduct;

          (3)      protect the public from further crimes of the
                   defendant; and

          (4)      provide the defendant with needed educational or
                   vocational training, medical care, or other correctional
                   treatment in the most effective manner. 18 U.S.C. §
                   3553(a)(2).




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      With this framework in mind, § 3553(a) provides for variances from the

advisory Guidelines range based on, inter alia, “the nature and circumstances of the

offense and the history and characteristics of the defendant.” 18 U.S.C. § 3553(a)(1);

Kimbrough, 552 U.S. at 108-10.

      Additionally, post-Booker decisions have specified the procedure a district

court must follow in sentencing, where the Guidelines serve as only a “starting

point” in determining a sentence, and a sentencing court “may not presume that the

Guidelines range is reasonable.” Gall v. United States, 552 U.S. 38, 50 (2007). All

of the sentencing factors enumerated under 18 U.S.C. § 3553(a) must be considered

for the District Court to “make an individualized assessment based on the facts

presented.” Gall, 522 U.S. at 50; see also United States v. Rigas, 583 F.3d 108, 116

(2d Cir. 2009).

      Put differently, courts should utilize the “most up-to-date picture” of a

defendant’s “history and characteristics”, and one much more detailed than the PSR,

which seems to not even confirm who Titus was living with at the time of his PSR

interview. Pepper, 562 U.S. at 492.

      For example, in Pepper, a defendant was convicted of narcotics trafficking,

sentenced, and later resentenced as a result of other proceedings. By the time of his

resentencing, the defendant “had been drug free for nearly five years, had attended

college and achieved high grades, was a top employee at his job slated for a

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promotion, had reestablished a relationship with his father, and was married and

supporting his wife’s daughter.” Pepper, 562 U.S. at 492. The Supreme Court

emphasized that the District Court should have applied the § 3553(a) factors to the

man standing before it on resentencing, rather than ending the analysis of his “history

and characteristics” at the time of the first sentencing. Id.; United States v. Gonzales,

163 F. Supp. 3d 1078, 1126 (D.N.M.), aff’d, 844 F.3d 929 (10th Cir. 2016) (“a court

may consider ‘post offense rehabilitative efforts’ in deciding whether to grant” a

variance); United States v. Rutherford, 323 F. Supp. 2d 911, 914 (E.D. Wis. 2004)

(same).

      Consistent with this principle, “this circuit has recognized repeatedly that in

deciding whether to depart downward a sentencing court may consider any

presentence rehabilitation that a defendant has demonstrated as well as the likelihood

that probation rather than prison will facilitate a defendant’s future rehabilitation.”

United States v. K, 160 F. Supp. 2d 421, 442 (E.D.N.Y. 2001); see also United States

v. Maier, 975 F.2d 944, 948 (2d Cir. 1992).

      Courts may vary from the guidelines to avoid the strict requirements of

§4A1.3 and impose an outside-the-guidelines sentence based on the inadequacy of

the defendant’s criminal history category. See e.g. United States v. Mejia-Huerta,

480 F.3d 713 (5th Cir. 2007) (“We reiterate for emphasis that §4A1.3 49 applies

only to departures—based on unrepresentative criminal history—not to variances.”)

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      Here, as described above, Mr. Pezzola’s love and devotion for his family

rehabilitative efforts since his arrest have been nothing short of extraordinary.

Family ties and responsibilities are not ordinarily relevant in determining whether a

departure may be warranted. Such factors are only a basis for departure in

extraordinary cases. Pezzola’s family circumstances and those who rely on him are

extraordinary. See e.g. United States v. Spero, 382 F.3d 803 (8th Cir. 2004)

(highlighting a situation in which one parent is critical to a 129 child’s well-being

qualifies as an exceptional circumstance justifying a downward departure); United

States v. Leon, 341 F.3d 928 (9th Cir. 2003) (affirming the district court’s departure

based on defendant’s indispensable role in caring for his wife, who recently had her

kidney removed due to renal cancer and who had been diagnosed as being at risk of

committing suicide if she were to lose her husband to death or incarceration); United

States v. Sprei, 145 F.3d 528 (2d Cir. 1998) (reversing the district court’s grant of a

downward departure based on the devastating impact a long period of incarceration

would have on the defendant’s children, for whom the defendant).

      Here, if Mr. Pezzola is sentenced to an offense level of 30, then in serving

such sentence, the impact to two young children will cause a substantial, direct, and

specific loss of essential caretaking, or essential financial support. Further, the loss

of caretaking or financial support substantially exceeds the harm ordinarily incident

to incarceration for a similarly situated defendant. The sentencing expose here, and

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the harm to the family is sufficient as a basis for departure because such hardship or

suffering is of a sort ordinarily incident to incarceration.

       Moreover, the loss of caretaking or financial support is one for which no

effective remedial or ameliorative programs reasonably are available, making the

defendant’s caretaking or financial support irreplaceable to the defendant’s family.

Lastly, the departure effectively will address the loss of caretaking or financial

support because if sentenced to or below 60 months, then Pezzola will not get out

until in his “early or late fifties” and if such is the case then Pezzola in his fifties will

effective be unemployable at such time.

       We respectfully submit that each of these facts—Mr. Pezzola’s commitment

to family, education, and therapy—supports the imposition of a mitigated sentence.

See, e.g., United States v. Martin, 520 F.3d 87, 93 (1st Cir. 2008) (affirming a 91-

month variance down from the guideline range based in part on “the support that the

defendant stood to receive from his family [and] personal qualities indicating his

potential for rehabilitation”); United States v. Schroeder, 536 F.3d 746 (7th Cir.

2008) (remanding for resentencing where the sentencing court did not address

defendant’s claim of extraordinary family circumstances); United States v. Martin,

520 F.3d 87 (1st Cir. 2008) (affirming a 91-month variance down from the guideline

range based in part on “the support that the defendant stood to receive from his

family [and] personal qualities indicating his potential for rehabilitation;” post-

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Booker, “policy statements normally are not decisive as to what may constitute a

permissible ground for a variant sentence in a given case”). United States v. Husein,

478 F.3d 318, 324 (6th Cir. 2007) (affirming sentence of one-day credited for time

served and three years supervised release, including 270 days of home confinement,

despite an advisory Guidelines range of 37 to 46 months, where the court noted that

defendant’s “family is going to benefit more by your presence than society is going

to benefit from your incarceration”); See also United States v. Chapman, 356 F.3d

843, 847 (8th Cir. 2004) (reversing district court’s denial of downward departure for

post-offense rehabilitation, holding that “truly exceptional rehabilitation alone can,

in rare cases, support a downward departure even when the defendant does not

accept responsibility”); United States v. Lehmann, 513 F.3d 805 (8th Cir. 2008)

(affirming a downward variance to probation where the district court found that a

prison sentence would negatively affect the defendant’s disabled young son).

      Lastly, it should be noted that we understand that there are factors that are

prohibited grounds for downward departures or variances, such as: (a) Mr. Pezzola

has always been a hardworking, family man, who has worked endless hours to

ensure that he always provided for family, including caring for his children; (b) Mr.

Pezzola is cared about in his community, a respected family-man, where others will

be doing this time with him; (c) lack of a formal college education, as life dictated




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that he had to work with his hands early in live to provide; and (d) his lack of

guidance as a youth.

      Each of these grounds are present here, and its respectfully submitted that

identified in the guidelines as a permissible ground for departure, even if such

offender characteristic or other circumstance is not ordinarily relevant to a

determination of whether a departure is warranted. Cf. United States v. Decora, 177

F.3d 676 (8th Cir. 1999) (explaining that although the court relied for downward

departure on factors not ordinarily relevant—education, employment record, family

and community responsibility—these factors were present in an unusual degree not

adequately taken into consideration by the Sentencing Commission).

      We ask this Court to take a look at each of these factors, as a whole, in making

its determination.

 IV. THE SERIOUSNESS OF THE OFFENSE, RESPECT FOR THE LAW,
           AND JUST PUNISHMENT FOR THE OFFENSE.

      A non-guidelines sentence at or below time-served is appropriate and

sufficient to reflect the seriousness of the offense of which Mr. O’Brien was

convicted and to promote respect for the law and to provide just punishment. In fact,

a sentence of an overly lengthy incarceration may undercut respect for the law. Gall

v United States, 552 U.S. 38, 54 (2007) (highlighting “a sentence of imprisonment

may work to promote not respect, but derision, of the law if the law is viewed as



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merely a means to dispense harsh punishment without taking into account the real

conduct and circumstances involved in sentencing”).

A. ADEQUATE DETERRENCE TO FUTURE CRIMINAL CONDUCT.

      Imposing the mandatory minimum in this case, will have little to no bearing

on deterrence. Mr. Pezzola merely seeks a sentence that is just and just under the

mandatory minimum, that of five years. After five years, Mr. Pezzola will be in his

late forties, where he will no longer even be able to resort to a life a crime. Empirical

research shows no relationship between sentence length and deterrence. In a pre-

Guideline study of specific deterrence, no difference in deterrence was found as a

result of sentence severity, including between probation and imprisonment. See

ANDREW VON HIRSCH, et al., Criminal Deterrence and Sentence Severity: An

Analysis of Recent Research (1999) (concluding “correlations between sentence

severity and crime rates . . . were not sufficient to achieve statistical significance,”

and that “the studies reviewed do not provide a basis for inferring that increasing the

severity of sentences generally is capable of enhancing deterrent effects.”).

      “There is generally no significant association between perceptions of

punishment levels and actual levels . . . implying that increases in punishment levels

do not routinely reduce crime through general deterrence mechanisms.” GARY

KLECK, et al., The Missing Link in General Deterrence Theory, 43 Criminology 623

(2005).

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      In addition to the ineffectiveness of imprisonment on deterrence, an over-

emphasis on general deterrence poses the ethical problem of punishing one person

to promote deterrence of others. “Judicial punishment can never be administered

merely as a means for promoting another good either with regard to the criminal

himself or to civil society, but must in all cases be imposed only because the

individual on whom it is inflicted has committed a crime. For one man ought never

to be dealt with merely as a means subservient to the purpose of another.” IMMANUEL

KANT, The Science of Right, 195 (W. Hastie trans., 1790).

      General deterrence simply is not a good reason for a lengthy prison term.

      With the love, support, and nurturing that he receives from his wife, children,

and family, Dominic Pezzola is sure to turn his life around in the right direction.

   V. THE ENHANCEMENTS IN THIS CASE RESULT IN SIGNIFICANT
          INCREASE IN THE GUIDELINE RANGE AND THUS A
                  DEPARTURE SHOULD APPLY.

      The enhancements in this case are substantial, to the point where this Court

should consider a departure based on its cumulative effect on the guidelines.

      In Lauersen the Second Circuit held:

             We recognize that the Guidelines permit the use of a
             subsection 2F1.1(b)(8)(B) enhancement in addition to a
             subsection 2F1.1(b)(1)(N) enhancement. Nevertheless, we
             think that the cumulation of such substantially overlapping
             enhancements, when imposed upon a defendant whose
             adjusted offense level translates to a high sentencing
             range, presents a circumstance that is present “to a degree”
             not adequately considered by the Commission, see 18
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            U.S.C. § 3553(b)(1), and therefore permits a sentencing
            judge to make a downward departure. Cf. United States v.
            Gigante, 94 F.3d 53, 56 (2d Cir.1996) (downward
            departure authorized where substantially enhanced
            sentence range results from a series of enhancements
            proven      only    by     preponderance      of    the
            evidence), amending 39 F.3d 42, 48 (2d Cir.1994).

            Upon remand, therefore, the District Judge must impose
            the subsection 2F1.1(b)(8)(B) enhancement, but may
            exercise discretion to mitigate the effect of the
            enhancement by making a downward departure.

      U.S. v. Lauersen, 348 F.3d 329 (2d Cir. 2003).

      Similarly, here, as the Second Circuit recognized, when the enhancements are

“substantially overlapping enhancements” and result in a significant increase in the

sentencing range minimums, then a departure should be considered and applied. Id.

      Here, the Pezzola enhancements are substantial. For example, in paraghagh

127 of the Pezzola PSR we objected as follows:

            Specific Offense Characteristics: The offense involved
            causing or threatening physical injury to a person in order
            to obstruct the administration of justice (to wit: the
            conspirators were among the first wave of rioters to breach
            the Capitol grounds and building and were part of a mob
            of rioters that caused injuries to Capitol Police officers
            guarding the outer perimeter at First Street. Conspirators
            tore apart a black metal fence on Capitol grounds, which
            allowed the first wave of rioters to continue advancing
            onto Capitol grounds and towards the Capitol building.
            They also led their men forward toward an outnumbered
            line of retreating law enforcement officers. The
            conspirators engaged in hand-to-hand combat with law
            enforcement officers who were guarding the US Capitol,
            and some used force to rob law enforcement officers of
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             property. The conspirators overwhelmed a line of officers
             at the base of the scaffolding that led to the US Capitol
             building and threw objects at police officers. They broke
             windows to access the Capitol building and achieve the
             objective of stopping the certification and used force to
             push past law enforcement officers who were guarding the
             doors of the US Capitol in order to gain entry to the US
             Capitol and stop the certification), therefore, eight levels
             are added. USSG 2J1.2(b)(1)(B).”

(See PSR at ¶ 127).

      As highlighted above, the circumstances in this matter warrant a completely

different outcome. One where this Court deviate and sentence Mr. Pezzola to three

years below the minimum guidelines set forth in the PSR.

      Respectfully, we request that Pezzola be sentenced to five years, when under

the circumstances, this case screams for a departure of the guidelines, or for some

departure to be done. Because that is what is just under these circumstances. Here,

applying the guidelines and the mandatory minimum, such guidelines are grossly

inappropriate to the charges imposed and are substantially outweigh by the facts in

this case. We respectfully request that this Court take this into consideration.

          VI.     THE GOVERNMENT’S PREPOSED “TERRORISM
                ENHANCEMENT” IS BASELESS AND WITHOUT
                       SUPPORT IN THE EVIDENCE.

      The terrorism enhancement, codified in section 3A 1.4 of the federal sentencing

guidelines, traces its roots back to the 1995 Oklahoma City bombing, after which




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Congress enacted tougher penalties to deter acts of “intimidation or coercion” aimed

at the government or civilian population.

      In the intervening years, terrorism sentences have most frequently been applied

to defendants with ties to ISIS or al-Qaida, or to violent domestic extremists like Cesar

Sayoc, who pleaded guilty in 2018 to mailing pipe bombs to members of Congress.

      As the editors of the Harvard Law Review write in a recent article, the

“Terrorism Enhancement” is “A Blunt Tool for a Nuanced Problem.” The

enhancement is difficult to apply for a number of reasons:

             A final problem with a more aggressive use of the terrorism
             enhancement is that it is a particularly blunt tool.
             Mechanically, the enhancement increases a defendant’s
             offense level to not less than thirty-two and increases the
             defendant’s criminal history to Category VI — the highest
             criminal history category. . . . For instance, Judge O’Toole
             refused to apply the enhancement over conncerns about
             fairness, later stating that “the automatic assignment of the
             defendant to a Criminal History Category VI . . . is not only
             too blunt an instrument to have ge        nuine    analytical
             value, it is fundamentally at odds with the design of the
             Guidelines.

Note, Responding to Domestic Terrorism: A Crisis of Legitimacy, 136 Harv. L. Rev.

1914, 1932 (2023), citing Melissa Powers, Comment, Drifting Away from Terrorism:

Downward Departure from the Terrorism Enhancement in Cases of Mental Illness,

62 ST. LOUIS U. L.J. 939, 953 (2018) and Joanna Baltes et al., Convicted Terrorists:

Sentencing Considerations and Their Policy Implications, 8 J. NAT’L SEC. L. &

POL’Y 347, 356 (2016).
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      The terrorism enhancement’s requirement of automatic enhancement ignores

the individual ‘history and characteristics’ of the Defendant, and “instead places too

much weight on a questionable interpretation of what constitutes terrorism under the

Guidelines.” United States v. Garey, 383 F. Supp. 2d 1374, 1379 (M.D. Ga. 2005)

(declining to apply the enhancement because it was too “excessive.” Id. at 1380.

      Pezzola’s conduct on January 6 hardly qualify as “terrorism.” Pezzola did make

contact with a Metropolitan Police Department officer and ended up in a scrum after

which he came up with a police shield. Pezzola did break a single pane of glass and

enter the Capitol through a window. Pezzola did wander various halls of the Capitol

before having a “victory smoke” and then exiting.

      Under no standard ever pronounced by any court could such conduct qualify as

“terrorism.” Rather, Pezzola joined hundreds of others seeking to have their voices

heard at the Capitol on January 6, 2021.

      In light of this, the governments claims are baseless, and literally should not

warrant much more of a response.

                    VII. CONCLUSION AND SENTENCING
                           RECOMMENDATION


      For the reasons set forth above, it is respectfully prayed that this Court impose

upon Pezzola a term of imprisonment substantially below the advisory guidelines,




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or through a non-guidelines sentence commensurate with this sentencing

application.

                                                  Steven A. Metcalf, Esq. /s/
                                                  ____________________
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                       CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the instant Motion was served via ECF
this 17th day of August, 2023 on all counsel of record.

                                    /s/ Steven A. Metcalf II


                                    STEVEN A. METCALF II, ESQ.




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